              Case 2:19-cr-00210-RAJ Document 65 Filed 10/13/21 Page 1 of 1




1                                                                   Honorable Richard A. Jones
2
3
4
5
                           UNITED STATES DISTRICT COURT FOR THE
6                            WESTERN DISTRICT OF WASHINGTON
7                                      AT SEATTLE
8     UNITED STATES OF AMERICA,                             NO. CR19-210 RAJ
9                            Plaintiff,
10                                                          ORDER EXTENDING TIME FOR THE
11                    v.                                    UNITED STATES TO FILE ITS
      ALLAN B. THOMAS and                                   RESPONSE TO DEFENDANT JOANN
12                                                          THOMAS’S MOTION IN LIMINE
      JOANN E. THOMAS,
13
14                           Defendants.

15
           THE COURT, having considered the unopposed Stipulated Motion Extending
16
     Time for the United States to File its Response to Defendant JOANN E. THOMAS’s
17
     Motion in Limine, hereby
18
           ORDERS that the Stipulated Motion (Dkt. # 64) is GRANTED. The United
19
     States’ Response to Defendant Joann Thomas’s Motion in Limine is due no later than
20
     October 15, 2021.
21
22
           DATED this 13th day of October, 2021.
23
24
25
                                                        A
26                                                      The Honorable Richard A. Jones
                                                        United States District Judge
27
28
     ORDER EXTENDING TIME TO FILE RESPONSE                                UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     TO DEFENDANT JOANN THOMAS’S MOTION IN LIMINE - 1
                                                                           SEATTLE, WASHINGTON 98101
     U.S. v. Allan B. Thomas and Joann E. Thomas, CR19-210 RAJ                   (206) 553-7970
